                    IN THE UNITED STATES BANKRUPTCY COURT
                    FOR THE NORTHERN DISTRICT OF ALABAMA,
                               NORTHERN DIVISION

In re: JIT INDUSTRIES, INC.            )
       EIN: xx-xxx7267                 )                    Case No.: 18-80892-CRJ-11
                                       )
               Debtor.                 )
                                       )                    CHAPTER 11
_______________________________________)
                                       )
JIT INDUSTRIES, INC.,                  )
                                       )
       Plaintiff,                      )
                                       )
v.                                     )             Adversary Proceeding No.: 18-80069
                                       )
WELLS FARGO FINANCIAL                  )
LEASING, INC., et. al                  )
                                       )
       Defendants.                     )

            PLAINTIFF’S RESPONSE TO MOTION TO QUASH SUBPOENA


       COMES NOW, the Plaintiff, JIT Industries, Inc. (the “Debtor”) and files this Response to
Rod Hill, Philip Hill, and Danny Overbee Motion to Quash Subpoena as follows:


       1.      This adversary proceeding concerns the satisfaction of liabilities of the Debtor and
its former affiliate, JIT Military Sales, an Alabama General Partnership (“Military Sales”).


       2.      The Debtor has not resolved this case with Defendant American Express National
Bank or determined whether American Express National Bank (“AMEX”) has been paid any funds
to satisfy its alleged debts; at a hearing before this Court in September 2018, counsel for AMEX
informed this Court that it opposes dismissal of this proceeding.


       3.      In the summer of 2017, the Debtor owned a membership interest in Military Sales.


       4.      In a deposition that occurred on September 13, 2018 in a related lawsuit, Philip
Hill, a general partner of Military Sales, testified that he, Rod Hill, and Danny Overbee took each




Case 18-80069-CRJ        Doc 88    Filed 10/05/18 Entered 10/05/18 08:30:26            Desc Main
                                  Document      Page 1 of 16
took $60,000.00 or more out of Military Sales’s receiver bank account in 2017 and kept it for
personal use:


                Q. All right. And did any of the funds that ended up in Progress Bank get paid
                back out to you personally?
                A. Yes.
                Q. More than once or just once?
                A. More than once.
                Q. Okay. If I got the bank statements for the partnership account at Progress
                Bank, would I be able to determine what amounts went to you?
                A. Absolutely.


A true and correct excerpt of the Philip Hill’s deposition transcript is attached and incorporated
herein as Exhibit “A,” p. 18, ¶¶ 11-21.


        5.      When pressed on how much of Military Sales’ money he took, Philip Hill could not
answer with specificity. See id.


        6.      Rod Hill similarly testified in a deposition on September 12, 2018 that he personally
took between $60,000.00 and $100,000.00 from Military Sales’s receiver bank account. A true
and correct excerpt of the Rod Hill’s deposition transcript is attached and incorporated herein as
Exhibit “B.”


        7.      Rod Hill further testified that he did not report these transfers to the Internal
Revenue Service as personsl income. Id. at p. 388, ¶¶ 5-14; p. 389, ¶¶ 10-19.


        8.      Messrs. Hill, Hill, and Overbee owed fiduciary duties to both Military Sales’s
creditors and to the Debtor, as an owner of the entity; their conversion of receiver funds relates
directly to the facts at issue in this proceeding.


        9.      Rod Hill’s failure to report the transfers as income to the IRS supports the Debtors
claim that Messrs. Hill, Hill, and Overbee are in possession of funds belonging to the Debtor and/or
Defendant AMEX.



Case 18-80069-CRJ         Doc 88     Filed 10/05/18 Entered 10/05/18 08:30:26            Desc Main
                                    Document      Page 2 of 16
       10.     The Debtor avers that it may possess claims against Messrs. Hill, Hill, and Overbee
for breach of fiduciary duty, 11 U.S.C. § 547, and 11 U.S.C. § 548 that may be asserted in this
adversary proceeding or in another proceeding. The Debtor owes a duty to its bankruptcy estate to
pursue such claims.


       11.     Because Philip Hill and Rod Hill could not testify with specificity regarding how
much money they took from the Military Sales’s receiver bank account for personal use and to
whom they may have transferred it, the subpoena at issue is necessary for the Debtor to fully
investigate and assert its claims against Messrs. Hill, Hill, and Overbee and any subsequent
transferees.


       12.     Further, this subpoena is necessary to evaluate the defenses asserted by AMEX in
this current proceeding, including whether or not Messrs. Hill, Hill, and Overbee, as the receivers
of Military Sales, paid AMEX any money or kept all the funds for themselves.


       13.     The Debtor had previously served a Rule 2004 production of documents on Military
Sales that should have included documents that would reveal the details of these alleged transfers
of funds. However, Military Sales failed to produce responsive documents for that Rule 2004
examination. Military Sales did not object or otherwise oppose the Rule 2004 examination.


       14.     Since Messrs. Hill, Hill, and Overbee solely control Military Sales, the present need
for this subpoena for the Progress Bank records is apparent.


       WHEREFORE, premises considered, JIT Industries, Inc. requests that this Honorable
Court enter an Order overruling Rod Hill, Philip Hill, and Danny Overbee’s Motion to Quash
Subpoena; and grant such further relief as this Court deems just and proper.


       Respectfully submitted this 5th day of October, 2018.


                                                 /s/ Tazewell T. Shepard IV
                                                 Tazewell T. Shepard III
                                                 Tazewell T. Shepard IV
                                                 Attorneys for Plaintiff




Case 18-80069-CRJ       Doc 88     Filed 10/05/18 Entered 10/05/18 08:30:26             Desc Main
                                  Document      Page 3 of 16
                                                SPARKMAN, SHEPARD & MORRIS, P.C.
                                                P.O. Box 19045
                                                Huntsville, AL 35804
                                                Tel: (256) 512-9924


                               CERTIFICATE OF SERVICE

       This is to certify that I have this 5th day of October, 2018 served the foregoing document
upon the below-listed parties by electronic service through the Court’s CM/ECF system and/or by
placing a copy of same in the United States Mail, postage pre-paid.


       Richard Blythe, Esq.                        Michael. A. Harrison
       Office of the Bankruptcy Administrator      Key, Greer, Harrison & Casey
       P. O. Box 3045                              P.O. Box 360345
       Decatur, AL 35602                           Birmingham, AL 35236


       Kevin D. Heard, Esq.                         Kevin C. Gray
       Heard, Ary & Dauro, LLC                      Bradley Arant Boult Cummings LLP
       303 Williams Avenue, Ste. 921                200 Clinton Ave. W. Ste 900
       Huntsville, AL 35801                         Huntsville, AL 35801

       Progress Bank and Trust
       C/o David Lee Nast, Registered Agent
       201 Williams Ave.
       Huntsville, AL 35801


                                                /s/ Tazewell T. Shepard IV
                                                Tazewell T. Shepard IV




Case 18-80069-CRJ       Doc 88    Filed 10/05/18 Entered 10/05/18 08:30:26           Desc Main
                                 Document      Page 4 of 16
                                         EXHIBIT A




Case 18-80069-CRJ   Doc 88    Filed 10/05/18 Entered 10/05/18 08:30:26   Desc Main
                             Document      Page 5 of 16
Case 18-80069-CRJ   Doc 88    Filed 10/05/18 Entered 10/05/18 08:30:26   Desc Main
                             Document      Page 6 of 16
Case 18-80069-CRJ   Doc 88    Filed 10/05/18 Entered 10/05/18 08:30:26   Desc Main
                             Document      Page 7 of 16
Case 18-80069-CRJ   Doc 88    Filed 10/05/18 Entered 10/05/18 08:30:26   Desc Main
                             Document      Page 8 of 16
  Rodney Hill Jr.                     EXHIBIT B                                       1
    1                        IN THE CIRCUIT COURT OF
    2                         MADISON COUNTY, ALABAMA
    3

     4    CASE NUMBER:           47-CV-2017-901539
    5

     6   ROD HILL, et al.,
     7    PLAINTIFFS,
    8

    9    v.
   10

   11    PEOPLES BANK OF ALABAMA, et al.,
   12    DEFENDANTS.
   13

   14                         DEPOSITION TESTIMONY OF:
   15                              RODNEY HILL, JR.
   16         September 12th, 2018 and September 13, 2018
   17

   18                         S T I P U L A T IONS
   19                  IT IS STIPULATED AND AGREED by and
   20    between the parties through their respective
   21    counsel that the deposition of RODNEY HILL,
   22     JR., may be taken before Mallory Bradberry
   23     Gray, a Court Reporter and Notary Public for
  Freedom Court Reporting, A Veritext Company                              877-373-3660
Case 18-80069-CRJ   Doc 88    Filed 10/05/18 Entered 10/05/18 08:30:26   Desc Main
                             Document      Page 9 of 16
Case 18-80069-CRJ   Doc 88    Filed 10/05/18 Entered 10/05/18 08:30:26   Desc Main
                             Document     Page 10 of 16
Case 18-80069-CRJ   Doc 88    Filed 10/05/18 Entered 10/05/18 08:30:26   Desc Main
                             Document     Page 11 of 16
Case 18-80069-CRJ   Doc 88    Filed 10/05/18 Entered 10/05/18 08:30:26   Desc Main
                             Document     Page 12 of 16
Case 18-80069-CRJ   Doc 88    Filed 10/05/18 Entered 10/05/18 08:30:26   Desc Main
                             Document     Page 13 of 16
Case 18-80069-CRJ   Doc 88    Filed 10/05/18 Entered 10/05/18 08:30:26   Desc Main
                             Document     Page 14 of 16
Case 18-80069-CRJ   Doc 88    Filed 10/05/18 Entered 10/05/18 08:30:26   Desc Main
                             Document     Page 15 of 16
Case 18-80069-CRJ   Doc 88    Filed 10/05/18 Entered 10/05/18 08:30:26   Desc Main
                             Document     Page 16 of 16
